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   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                            Office of the Clerk
       United States Courthouse
                                                                           Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                           www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                                     ORDER
January 12, 2022

                                                     Before

                                           FRANK H. EASTERBROOK, Circuit Judge

                                           ILANA DIAMOND ROVNER, Circuit Judge

                                           MICHAEL B. BRENNAN, Circuit Judge

                                    JENNIFER A. DUNKLEY,
                                             Plaintiff - Appellant

No. 21-2878                         v.

                                    AFSCME LOCAL 2600, et al.,
                                            Defendants - Appellees
Originating Case Information:
District Court No: 3:18-cv-02189-DWD
Southern District of Illinois
District Judge David W. Dugan


      Upon consideration of the MOTION FOR LEAVE TO FILE MOTION FOR
RULE 8. STAY OR INJUNCTION PENDING APPEAL, filed on January 10, 2022, by
the pro se appellant,

       IT IS ORDERED that appellant Jennifer Dunkley’s motion for a stay or
injunction is DENIED.
